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 1                  United States v. ANTHONY BELL, JR, Case No. 20CR2887-WQH

 2                                         FINANCIAL ADDENDUM

 3   1.        Defendant's conviction will include financial penalties such as a

 4   forfeiture,            fine,   and restitution.   This Financial Addendum is incor-

 5   porated into and part of Defendant's plea agreement, and the additional

 6   terms and warnings below apply.

 7             A.      Forfeiture

 8                     i.      In addition to the penalties outlined in the plea agree-

 9 ment,        federal law states Defendant must forfeit to the United States

10   any property, real or personal, which constitutes or are derived, from

11   proceeds traceable to violations of Title 18, United States Code, Sec-

12   tion 1349 (Conspiracy to Commit Wire/Mail Fraud and Health Care Fraud);

13   and Title 18, United States Code, Section 1347 (Health Care Fraud); and

14   Title 42, United States Code,              Section 1320-7b (b) (2) (A)   (Anti-Kickback

15   Statute).

16                     ii.     Defendant consents to the forfeiture allegations of the

17   Indictment and agrees to forfeit all properties seized in connection

18   with the case, including, but not limited to:

19        a.    $536,422.59 in funds from Acct# 6278570285 held in the name of

20              Universal Medical Solutions LLC at Wells Fargo bank;

21        b.    $269,952.56 in funds from Acct# 6278570293 held in the name of

22              Universal Medical Solutions LLC at Wells Fargo bank;

23        c.    Real property located at 5034 Bluff Place, El Cajon, California

24              92020 including all appurtenances, improvements, and attachments

25              thereon, more particularly described as:

26        APN: 493-400-57-00
     PARCEL A:
27   PARCEL 4 OF PARCEL MAP NO. 1155, FILED IN THE OFFICE OF THE
     COUNTY RECORDER OF SAN DIEGO COUNTY, DECEMBER 14, 1972, IN THE COUNTY
28   OF SAN DIEGO, STATE OF CALIFORNIA, BEING A PORTION OF TRACT "A" OF

      Financial Addendum                                              Def. Initials  W
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       RANCHO EL CAJON, AND BEING IN SECTION 14, TOWNSHIP 16 SOUTH, RANGE 1
 1     WEST, SAN BERNARDINO MERIDIAN.
       PARCEL B:
 2
       AN EASEMENT AND RIGHT OF WAY FOR GENERAL ROAD PURPOSES OVER THE SOUTH
 3     20 FEET OF THE FOLLOWING DESCRIBED LAND:
       THAT PORTION OF LOT "A" OF THE RANCHO EL CAJON, BEING ALSO A PORTION OF
 4     SECTION 14, TOWNSHIP 16 SOUTH, RANGE 1 WEST, SAN BERNARDINO MERIDIAN,
       IN THE COUNTY OF SAN DIEGO, STATE OF CALIFORNIA, DESCRIBED AS FOLLOWS:
 5     BEGINNING AT A POINT ON THE SOUTH LINE OF SAID SECTION 14, DISTANT
       THEREON SOUTH 89° 17' EAST, 653 FEET FROM THE QUARTER CORNER OF THAT
 6     SAID SOUTH LINE OF SAID SECTION 14; THENCE SOUTH 89° 17' EAST ALONG THE
 7     SAID SOUTH LINE OF SAID SECTION 14,210 FEET; THENCE NORTH 0° 06' WEST
       PARALLEL WITH THAT LINE OF THE SOUTHEAST QUARTER OF SAID SECTION 14,
 8     550 FEET TO THE SOUTHEAST CORNER OF THE LAND CONVEYED TO ROBERT LIVESEY
       AND LETHA M. LIVESEY, BY DEED DATED MARCH 1, 1927, RECORDED IN BOOK
 9     1340, PAGE 124 OF DEEDS, RECORDS OF SAN DIEGO COUNTY; THENCE NORTH 89°
       17' WEST ALONG THE SOUTH LINE OF THE LAND SO CONVEYED TO SAID LIVESEY,
lO     210 FEET TO THE SOUTHWEST COMER OF SAID LIVESEYS' LAND; THENCE SOUTH 0°
       06' EAST, 550 FEET TO THE POINT OF BEGINNING.
11
       PARCEL C:
12     AN EASEMENT AND RIGHT OF WAY FOR INGRESS AND EGRESS OVER THE WEST 30
       FEET OF LOT 35 OF HORIZON HILLS ESTATES UNIT NO. 1, IN THE COUNTY OF
13     SAN DIEGO STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF NO. 3658, FILED
       IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY, JUNE 5, 1957.
14
                    iv.   Defendant.consents and agrees to the immediate entry of
15
       a preliminary order of forfeiture upon entry of the guilty plea.                     De-
16
       fendant agrees that upon entry of the preliminary order of forfeiture,
17
       such order shall be final as to Defendant and as to Defendant's inter-
18
       ests in the properties.     Defendant agrees to immediately withdraw any
19
       claims   in pending administrative     or civil   forfeiture proceedings              to
20
       properties seized in connection with this case that are directly or
21
       indirectly related to the criminal conduct. Defendant agrees to execute
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       all documents requested by the Government to facilitate or complete the
23
       forfeiture   process.   Defendant   further   agrees   not    to     contest,   or   to
24
       assist   any other person or entity in contesting,             the    forfeiture     of
25
       property seized in connection with this case. Contesting or assisting
26
       others in contesting the forfeiture shall constitute a material breach
27
       of the plea agreement, relieving the Government of all its obligations
28

       Financial Addendum
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 1   under the agreement including but not limited to its agreement to rec-

 2   ommend an adjustment for Acceptance of Responsibility.                        Defendant waives

 3   all demand for payment of the forfeiture judgment and waives all notices

 4   for substitution of property to collect the full amount of the judgment.

 5                  v.      Defendant consents and agrees to the entry of orders of

 6   forfeiture       for   such property and waives             the     requirements       of Federal

 7   Rules    of Criminal          Procedure    32. 2   and   43 (a)    regarding notice         of the

 8   forfeiture in the charging instrument,                   announcement of the forfeiture

 9   at sentencing,         and incorporation of the             forfeiture        in the    judgment.

10   Defendant understands            that     the   forfeiture        of assets    is    part   of   the

11   sentence that may be imposed in this case and waives any failure by the

12   Court to advise defendant of this, pursuant to Rule 11 (b) (1) (J), at the

13   time the Court accepts the guilty plea(s).

14                  vi.     Defendant agrees to take all steps as requested by the

15   United States to pass clear title to forfeitable assets to the United

16   States and to testify truthfully in any judicial forfeiture proceeding.

17                  vii. Defendant agrees that the forfeiture provisions of this

18   plea agreement are intended to,                 and will,    survive defendant,          notwith-

19   standing the abatement of any underlying criminal conviction after the

20   execution of this agreement. The forfeitability of any particular prop-

21   erty pursuant to this agreement shall be determined as if defendant had

22   survived,       and    that    determination       shall    be    binding     upon   defendant's

23   heirs,       successors and assigns until the agreed forfeiture,                        including

24   any agreed money judgment amount, is collected in full.

25           C.     FINE.

26                  i.      Any payment schedule for a                fine   imposed by the Court

27   establishes only a minimum obligation. Defendant will make a good faith

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     Financial Addendum                                                       Def. I n i t i a l s ~ ~
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 1   effort to pay any fine.              Regardless of Defendant's         compliance,      any

 2   payment schedule does not limit the United States' ability to collect

 3   additional amounts from Defendant through all available collection rem-

 4   edies at any time.

 5                ii.    The parties agree that notwithstanding any Court imposed

 6   schedule for payment of a fine,              the total amount of the fine shall be

 7   due immediately and shall be deemed to be payable forthwith. Any payment

 8   schedule imposed by the Court establishes only a minimum obligation.

 9 Any      payment     schedule    does    not    foreclose    the   United     States     from

10   exercising all legal actions, remedies, and process available to collect

11   the fine,    including but not limited to remedies pursuant to 18 U.S.C.

12   §§   3613 and 3664 (m) (1) (A).       Defendant will make a good faith effort to

13   pay the fine.       Defendant agrees to entry of the fine into the Treasury

14   Offset Program ("TOP")         and waives all notices of TOP and offsets, and

15   waives all rights to contest the TOP offsets.

16                iii. The fine shall be paid through the Office of the Clerk

17   of   the    District   Court    by    bank    or   cashier's   check   or   money    order

18   referencing the criminal case number and made payable to the "Clerk,

19   United States District Court."

20          D.    ADDITIONAL TERMS

21          i.    Defendant agrees to waive all constitutional and statutory

22   challenges (including direct appeal, habeas corpus, or any other means)

23   to any forfeiture or fine ordered pursuant to this agreement, including

24   any claim that the forfeiture or fine constitutes an excessive fine or

25   punishment under the United States Constitution.

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     Financial Addendum
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 1         ii.     The United States may run credit and other financial reports

 2   on Defendant using public and non-public databases and share such in-

 3   formation with the Court and the U.S. Probation Office. Defendant also

 4   authorizes the Internal Revenue Service to transmit to the United States

 5   Attorney's Office copies of Defendant's income tax returns from 2019

 6   until the fine is paid in full and forfeiture proceedings are completed,

 7   and Defendant will promptly execute any documents necessary to carry

 8   out this authorization.

 9         iii. Not later than 30 days after execution of the plea agreement,

10   Defendant shall complete and provide to the United States, under penalty

11   of perjury, a financial disclosure form listing all Defendant's current

12   and projected assets and financial interests valued at more than $1,000.

13   These include all assets and financial interests in which Defendant has

14   an interest (or had an interest prior to September 18, 2020, direct or

15   indirect, whether held in Defendant's name or in the name of another,

16   in any property,      real   or personal,   including marital   and community

17   property. Defendant shall also identify all assets valued at more than

18   $5,000 which have been transferred to any third party since September

19   18,   2020,    including the location of the assets,    the identity of the

20   third party or parties, and the amount of consideration received by the

21   Defendant for the transferred assets.

22         iv.     From the date this financial addendum is executed until the

23   fine and/or forfeiture judgment is paid in full and forfeiture proceed-

24   ings are completed,     Defendant shall notify the Asset Recovery Section

25   of the United States Attorney's Office of (i) any interest in property

26   worth more than $1,000 that Defendant obtains, directly or indirectly,

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     Financial Addendum
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     1   and    (ii)   any interest in property owned directly or indirectly by De-

     2   fendant worth over $1,000 that Defendant intends to transfer.                               This

     3   obligation covers any interest in property obtained under any other

     4   name    or    entity,    including    a    trust,       partnership    or   corporation.     The

     5   parties will jointly recommend that this requirement also be imposed as

     6   a condition of supervised release.

     7          v.      Defendant understands that the fine is delinquent until paid

     8   in full.      Until the fine is paid in full,                Defendant shall immediately

     9   notify the Asset Recovery Section, United States Attorney's Office, of

    10   any material change in Defendant's financial condition.

    11          vi.     Defendant    consents       to    the    immediate   recording    of   judgment

    12   liens as the United States deems appropriate as to all financial pen-

    13   alties imposed by the Court.

    14                                                    ****
    15          Defendant        understands       that    the    main   plea   agreement      and   this

    16   financial addendum embody the entire plea agreement between the parties

    17   and supersedes any other agreement, written or oral.



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    19                                                     ANTHONY DUANE BELL,~
                                                           Defendant
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                Date    L
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                                                            Defense Counsel

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    24
                                                           RANDY S. GROSSMAN
    25                                                     United States Attorney
                                                           CHRISTOPHER ALEXANDER
    26                                                     VALERIE H. CHU
                                                           Assistant U.S. Attorney
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         Financial Addendum
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